  8:11-cr-00401-JFB-FG3       Doc # 14    Filed: 12/21/11    Page 1 of 1 - Page ID # 23




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )          CASE NO. 8:11CR401
                                           )
                            Plaintiff,     )
                                           )                       ORDER
       -vs-                                )
                                           )
AGAPITO AGUILAR-SOSTENES,                  )
                                           )
                         Defendant.        )


       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Reginald Young, as a Criminal Justice Act training panel member,

to assist in the defense of Agapito Aguilar-Sostenes.                 .

       Accordingly, pursuant to the terms of Appendix I, Part I(C) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Reginald Young is hereby assigned to assist

the Federal Public Defender in the representation of the Defendant in the above-captioned

case, and must file an entry of appearance forthwith. Reginald Young shall not be eligible

to receive compensation for services in this case.

       The Federal Public Defender shall continue to be primary counsel on behalf of the

Defendant, Agapito Aguilar-Sostenes.                           .

       Dated: December 21, 2011.

                                   BY THE COURT:


                                   s/ F. A. Gossett
                                   UNITED STATES MAGISTRATE JUDGE
